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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §        CASE NO. 9:14-CR-7-2
                                                 §
REGINALD WILLIAMS                                §


        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge. The magistrate judge recommended that the court accept the Defendant’s

guilty plea. He further recommended that the court adjudge the Defendant guilty on Count One of

the Information filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea agreement

until after review of the presentence report. The court ORDERS the Defendant’s attorney to read

and discuss the presentence report with the Defendant, and file any objections to the report

BEFORE the date of the sentencing hearing.

       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the



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magistrate judge’s findings and recommendation, the Defendant, Reginald Williams, is adjudged

guilty as to Count One of the Information charging a violation of 21 U.S.C. § 841(a)(1).

       So ORDERED and SIGNED this 25 day of November, 2014.




                                                    ___________________________________
                                                    Ron Clark, United States District Judge




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